       Case 1:24-cv-10049-LJL           Document 189         Filed 04/30/25      Page 1 of 1

                                                                               Sigrid S. McCawley
                                                                         Telephone: 954-356-0011
                                                                     Email: smccawley@bsfllp.com

                                                                       April 30, 2025
VIA ECF
The Honorable Lewis J. Liman
United States District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1620
New York, New York 10007
       Re:     Lively et al. v. Wayfarer Studios LLC et al., No. 24 Civ. 10049 (LJL)
               [rel. No. 25 Civ. 779]
Dear Judge Liman:
        On behalf of Leslie Sloane and Vision PR, Inc. (the “Sloane Parties”), we write pursuant
to Rule 4.b of Attachment A to your Honor’s Individual Rules to respectfully request that the Court
preliminarily seal Exhibit A to the Sloane Parties’ motion to compel, filed contemporaneously
herewith. Exhibit A is Justin Baldoni’s responses and objections to Ms. Sloane’s interrogatories,
which the Wayfarer Parties designated confidential. The Sloane Parties respectfully request that
the Court not rule on this letter-motion to seal for one week, so that the parties have the opportunity
to meet and confer, and the Wayfarer Parties may file a motion for continued sealing if they so
choose.

                                                       Respectfully Submitted,
                                                        /s/ Sigrid S. McCawley
                                                       Sigrid S. McCawley
                                                       BOIES SCHILLER FLEXNER LLP
                                                       401 E. Las Olas Blvd., Suite 1200
                                                       Ft. Lauderdale, FL 33301
                                                       Telephone: (954) 356-0011
                                                       smccawley@bsfllp.com

                                                       Andrew Villacastin
                                                       Lindsey Ruff
                                                       Rachael Schafer
                                                       BOIES SCHILLER FLEXNER LLP
                                                       55 Hudson Yards
                                                       New York, NY 10001
                                                       Telephone: (212) 446-2300
                                                       avillacastin@bsfllp.com
                                                       lruff@bsfllp.com
                                                       rschafer@bsfllp.com

                                                       Attorneys for Leslie Sloane
                                                       and Vision PR, Inc.
